                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )
                                              )
                                              )       Case No. 1:09-CR-181
 vs.                                          )
                                              )
                                              )
 DONNA SHROPSHIRE                             )       COLLIER/CARTER


                              REPORT AND RECOMMENDATION

                                           I. Introduction

        This matter came before the undersigned pursuant to 28 U.S.C. §§ 636(b)(1)(B)and(C) to

 conduct such evidentiary hearings as deemed necessary and to issue a report and recommendation

 as to the defendant’s mental competency to stand trial and sanity at the time of the offense.

        Those appearing before the undersigned at the mental competency hearing on Wednesday,

 December 15, 2010, included the following:

        1. Asst. United States Attorney Perry Piper.
        2. Defendant Donna Shropshire.
        3. Attorney John Allen Brooks for defendant
        4. Dr. Jorge Luis, Forensic Psychologist, Federal Detention Center, Miami, FL (by
           video conference).

                         Motion for Psychiatric and Medical Examination

       A motion was filed in this case on February 18, 2010, by defendant moving the Court for

 an evaluation to determine defendant’s competency to stand trial and sanity at the time of the

 offense [Doc 250]. The Court entered an order on February 24, 2010, granting a

 psychiatric/psychological evaluation to determine (1) whether the defendant is suffering from a

 mental disease or defect rendering her mentally incompetent to the extent she is unable to

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 understand the nature and consequences of the proceedings against her or to assist properly in

 her defense and (2) whether defendant suffered from such mental disease or defect which

 rendered her insane at the time of the offense charged [Doc. 268].

       Dr. Jorge Luis, forensic psychologist at the Federal Bureau of Prisons in Butner, North

 Carolina, testified at the November 4, 2010 hearing. Dr. Luis has been a licensed psychologist

 since 2002. He has prepared over 250 mental evaluations in Federal Court. The parties stipulated

 to his qualifications as an expert forensic psychiatrist. The forensic evaluation was filed as an

 exhibit to the testimony of Dr. Luis. Defendant self reported to the facility on April 5, 2010, and

 stayed until May 20, 2010.

        The following procedures were employed to assess defendant’s current level of

 functioning:

        Clinical Interviews
        Mental Status Examination
        Booklet Category Test - Second Edition (BCT)
        Georgia Court Competency Test - Mississippi State Hospital (GCCT-MSH)
        Personality Assessment Instrument (PAI)
        Trail Making Test (TMT)
        Wechsler Abbreviated Scale of Intelligence (WASI)

        The defendant underwent approximately seven hours of psychological testing and clinical

 interview by psychology staff including Dr. Luis, and Ms. Irena Morin, M.S. and Ms. Alexandra

 Casalino, M.S., psychology graduate students under the supervision of Dr. Luis.

 (Forensic Evaluation at 3).

        Dr. Luis’ evaluation findings were as follows:

        Behavioral Observations: Overall, Ms. Shropshire seemed to function adequately
        in the highly structured environment of the institution. She did not demonstrate
        any difficulties getting her meals, attending to her activities of daily living,
        following instructions, or communicating. Correctional Services staff reported

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        that she interacted well with others. The defendant never demonstrated behavior
        warranting additional psychological interventions or requiring special attention.

 (Forensic Evaluation at 5).

        Psychiatric Treatment: While at this facility, the defendant did not request nor require
 any psychiatric treatment.

 (Forensic Evaluation at 6).

        Diagnosis:

                Axis I         Amphetamine Dependence, In a Controlled
                               Environment, 304.4

                               Opioid Dependence, In a Controlled
                               Environment, 304.00

                Axis II        Deferred, 799.9

                Axis III       Post Herpetic Neuralgia, Left Facial Paralysis

                Axis IV        Problems related to interaction with legal system/crime

 (Forensic Evaluation at 7 and 8).

        Dr. Luis assessed defendant’s prognosis to be favorable given her stable mental status.

        Tests were administered to assess the defendant in several areas of courtroom

 proceedings. These include testing her ability to understand the charges against her, her ability to

 assist defense counsel, and her ability to understand courtroom proceedings. A careful review of

 the defendant’s general courtroom knowledge revealed a consistent and sufficient understanding

 of courtroom roles and proceedings. (A detailed assessment is found on page 9 of the forensic

 evaluation).

        As to the question of insanity at the time of the offense or criminal responsibility, it was

 the opinion of Dr. Luis that Ms. Shropshire was criminally responsible for her behavior. The


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 report describes the standard for a finding of insanity as follows:

        Insanity at the time of the offense requires the presence of a serious mental
        disorder or defect, along with the evidence that there was a causal relationship
        between the mental disorder and the offense behavior. In other words,
        determination of responsibility involves questioning whether or not a mental
        disorder resulted in an individual’s inability to appreciate the wrongfulness of his
        or her behavior.

 (Forensic Evaluation at 9).

        Dr. Luis concludes Ms. Shropshire was sane as set out below:

        Although there were no investigative documents for the examiner to review
        regarding the defendant’s alleged offense, the defendant’s mental status
        throughout the evaluation period does not suggest the presence of a mental
        disease or defect that would have interfered with her criminal responsibility.
        Although the defendant has alleged that her recollection of the events is
        reportedly incomplete, these assertions are complicated by her reports of
        substance abuse. The defendant reported an extensive history of daily substance
        abuse which would thereby invalidate the use of an insanity defense due to the
        volitional use of substances.

 (Forensic Evaluation at 9 and 10).

        No other evidence was presented by defendant to contradict the findings contained in the

 forensic evaluation report. However, I note that the question of sanity at the time of the offense

 is a question for the jury but, based upon the available evidence, it does not appear that Ms.

 Shropshire was insane at the time of the offense.




                                            II. Conclusion

        Having carefully reviewed the pleadings and the evidence presented at the December 15,

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 2010, hearing and considering the opinion of Dr. Luis from his testimony and the report, I

 RECOMMEND1 the Court find the defendant Donna Shropshire competent to understand the

 nature and consequences of the proceedings against her and able to assist in her defense.



                                                s/William B. Mitchell Carter
                                                UNITED STATES MAGISTRATE JUDGE




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                 Any objections to this Report and Recommendation must be served and filed within
 fourteen (14) days after service of a copy of this recommended disposition on the objecting party.
 Such objections must conform to the requirements of Rule 59(b)(2) of the Federal Rules of Criminal
 Procedure. Failure to file objections within the time specified waives the right to appeal the District
 Court’s order. Thomas v. Arn, 474 U.S. 140, 88 L.Ed.2d 435, 106 S. Ct. 466 (1985). The district
 court need not provide de novo review where objections to this report and recommendation are
 frivolous, conclusive or general. Mira v. Marshall, 806 F.2d 636 (6th Cir. 1986). Only specific
 objections are reserved for appellate review. Smith v. Detroit Federation of Teachers, 829 F.2d
 1370 (6th Cir. 1987).

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